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                           UNITED STATES DEPARTMENT OF JUSTICE
                           OFFICE OF THE UNITED STATES TRUSTEE
                                   DISTRICT OF DELAWARE

IN RE:                                                :      Chapter 11
                                                      :
RGN-CHAPEL HILL, LLC                                  :      Case No. 20-11910 (BLS)

         Debtor.
                                                      :
                                                      :      341 Meeting Date: September 3, 2020
                                                             at 11:00 a.m. (EDT)


                     NOTICE OF TELEPHONIC SECTION 341 MEETING

        PLEASE TAKE NOTICE that the meeting of creditors pursuant to 11 U.S.C. §§ 341 and
343 (the “section 341 meeting”) in these cases, scheduled for September 3, 2020 at 11:00 a.m.
(EDT) will be held telephonically. Parties wishing to participate in the section 341 meeting should
dial in using telephone number: 1(866) 621-1355, and participants code: 7178157.

      PLEASE FOLLOW the instructions below to ensure a smooth and efficient telephonic section
341 meeting of creditors.

   •     You must use a touch-tone phone.
   •     If you have a choice, use a landline phone, instead of a cell phone.
   •     Dial the call-in number and then enter the passcode followed by a # sign.
   •     Make the call from a quiet area where there is as little background noise as possible.
   •     Mute your phone and do not speak until the U.S Trustee counsel asks you to identify
         yourself or indicates you may pose questions. You will still be able to listen even when
         your phone is muted.
   •     Unmute your phone when speaking.
   •     When speaking, identify yourself.
   •     Do not put the phone on hold at any time after the call is connected.
   •     Once the meeting of creditors is finished, please hang up.
   •     If you become disconnected before the meeting is finished, please call back.

        If you have any questions, you may contact David Villagrana, Trial attorney for the United
States Trustee’s Office: David Villagrana, Trial Attorney, 844 King Street, Suite 2207, Wilmington,
DE 19801 | Telephone: (202) 329-5836 | E-Mail: David.Villagrana2@usdoj.gov
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Dated: August 12, 2020
                                    ANDREW R. VARA
                                    UNITED STATES TRUSTEE
                                    REGIONS 3 AND 9

                                    By: /s/ David Villagrana
                                    David Villagrana, Esq.
                                    Trial Attorney
                                    United States Department of Justice
                                    Office of the United States Trustee
                                    J. Caleb Boggs Federal Building
                                    844 N. King Street, Room 2207, Lockbox 35
                                    Wilmington, DE 19801
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